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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

    In re                                              Chapter 11

    MALLINCKRODT, PLC, et al.,                         Case No. 20-12522 (JTD)
                                      1
                           Debtors.                    (Jointly Administered)


    ATTESTOR LIMITED                      and
    HUMANA INC.,

                           Appellants,
                                                       C.A. No. 22-cv-00215-TLA
                           v.

    MALLINCKRODT, PLC, et al.,

                           Appellees.


                                STIPULATION FOR DISMISSAL

            Pursuant to Rule 8023 of the Federal Rules of Bankruptcy Procedure, the

parties hereby stipulate to the dismissal of this appeal with prejudice, with each party

to bear its own attorneys’ fees and costs. Appellants represent that all costs and fees

due have been paid to the District Court for the District of Delaware.

Dated:             May 9, 2022
                   Wilmington, Delaware


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            A complete list of each of the Debtors in these chapter 11 cases may be obtained on the
            website       of      the     Debtors’     claims     and      noticing    agent     at
            http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
            McDonnell Boulevard, Hazelwood, Missouri 63042.

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SO ORDERED this _____ day of May, 2022.



                                   THE HONORABLE THOMAS L. AMBRO
                                     UNITED STATES CIRCUIT JUDGE




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